Case:17-04962-ESL13 Doc#:25 Filed:12/01/17 Entered:12/01/17 17:15:45   Desc: Main
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Case:17-04962-ESL13 Doc#:25 Filed:12/01/17 Entered:12/01/17 17:15:45   Desc: Main
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Case:17-04962-ESL13 Doc#:25 Filed:12/01/17 Entered:12/01/17 17:15:45   Desc: Main
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Case:17-04962-ESL13 Doc#:25 Filed:12/01/17 Entered:12/01/17 17:15:45   Desc: Main
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Case:17-04962-ESL13 Doc#:25 Filed:12/01/17 Entered:12/01/17 17:15:45   Desc: Main
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Case:17-04962-ESL13 Doc#:25 Filed:12/01/17 Entered:12/01/17 17:15:45   Desc: Main
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Case:17-04962-ESL13 Doc#:25 Filed:12/01/17 Entered:12/01/17 17:15:45   Desc: Main
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Case:17-04962-ESL13 Doc#:25 Filed:12/01/17 Entered:12/01/17 17:15:45   Desc: Main
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Case:17-04962-ESL13 Doc#:25 Filed:12/01/17 Entered:12/01/17 17:15:45   Desc: Main
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